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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
   Civil Action No. 06-cv-00605-PAB-KMT

   CROCS, INC.,
                          Plaintiff,
           v.
   EFFERVESCENT, INC. et al.,
                  Defendants.


     COUNTERCLAIM PLAINTIFFS’ (“DAWGS”) REPLY IN SUPPORT OF THEIR
   NINTH MOTION TO COMPEL: COMPEL COUNTERCLAIM DEFENDANT CROCS
                 TO PRODUCE DOUCMENTS AND THINGS


           Crocs’ opposition to the instant motion begins by asserting that it is moot. 1 The substance

   that follows illustrates the need for the Court to address Dawgs’ motion now, so that there is clarity

   as to where Crocs must search for non-objectionable materials. In sum, Crocs seeks to impose on

   other electronically stored information (“ESI”) the limits in the parties’ ESI Stipulation (Doc. No.

   235) that pertain to emails. The Court should rule on this issue now, before Crocs completes its

   searches for documents, lest Crocs argue later that Dawgs waived its rights regarding discovery or

   that it would be unduly burdensome for Crocs to perform additional searches for non-objectionable
   documents that it did not do in the first instance.

           Crocs also invites the Court to deny Dawgs’ motion by once again implying that the parties

   did not fully meet and confer. To the contrary, as shown in correspondence and prior Court filings,

   Dawgs and Crocs have discussed their disagreement over the ESI Stipulation several times dating

   back to August. Crocs has consistently maintained for months that it seeks to extend the provisions

   that limit the search of emails to other electronic discovery. Dawgs has consistently disagreed.

           In addition, despite Dawgs’ motion and correspondence, Crocs still refuses to commit to a

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         The instant motion (“Motion”) was filed as Docket No. 382. Crocs’ opposition
   (“Opposition”) was filed as Docket No. 400.


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   date by which it will produce the non-objectionable documents. As Dawgs’ requests were served

   almost five months ago, Crocs’ continued refusal to provide what it promised illustrates the need for

   a Court mandated production deadline.

          Crocs’ other arguments, including regarding the scope of Dawgs’ discovery requests, are of

   no moment to the instant motion. This motion is only about where Crocs must search for the

   categories of documents that it has already agreed to produce. The scope of Dawgs’ discovery

   requests has nothing to do with this motion as Crocs has already conceded that it possesses non-

   objectionable responsive materials. The only question is how Crocs goes about searching for them.

          A.      Crocs Presents No Basis to Apply Limits on Email Discovery to Other ESI

          As set forth in Dawgs’ motion, the primary issue here is that Crocs seeks to unilaterally

   impose the limits in the ESI Stipulation regarding custodians and search terms beyond email.

   Motion at 2. In its Opposition, Crocs makes clear that it has not wavered from the position it has

   maintained for months:

                  In contrast, many of Dawgs’s RFPs seek information that is far more
                  likely to be located, if anywhere, in individual persons’ email or
                  electronic documents, meaning that Dawgs must engage in the ESI
                  Stipulation procedure for that information.
   Opposition at 5 (emphasis added).

          Crocs claims that it has “non-custodial” electronic files, which it will produce, and other

   electronic documents in addition to emails that are “custodial,” and which it will not search. Id.

   The only portion of the ESI Stipulation that Crocs cites in support of its position is paragraph 6.

   While this paragraph mentions custodians and search terms, by its own language, this paragraph

   applies only to emails—a subset of the larger category of ESI.

          The ESI Stipulation affirms in its opening sentence that ESI is “electronically stored

   information” and “email” is one subset of that. ESI Stipulation at 1. Paragraph 5 sets forth that the

   “following parameters shall apply to ESI and email production:.” Id. at ¶ 5 (emphasis added). The



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   parameters include the format of production, native files, the restoration of backup files, and

   voicemail and mobile devices. These parameters apply to all ESI, including email. The following

   paragraph, paragraph 6, is specifically limited to emails. It states, “[b]efore producing email, the

   parties shall exchange . . email custodians . . .” Id. at ¶ 6 (emphasis added). There is no support for

   limiting searches for electronically stored documents, other than emails, to certain custodians and

   search terms.

           A separate problem with Crocs’ delineation between “non-custodial” and “custodial”

   electronic files is that it is impossible for anyone other than Crocs to tell how Crocs is categorizing

   its information. This emphasizes exactly the problem identified in Dawgs’ motion: accepting Crocs’

   position would force Dawgs into a guessing game of what has been searched, where documents are

   stored, and how it can possibly obtain otherwise non-objectionable discovery. Motion at 3‒4. Aside

   from not being part of the ESI Stipulation, this would improperly shift Crocs’ discovery obligations

   of making and certifying a complete production to Dawgs, and delay Crocs’ production even

   further, which will unfairly leave Dawgs with little time to deal with any documents that Crocs may

   be withholding due to its objections.

           Thus, the Court should clarify that the portion of the ESI Stipulation that limits the search

   of emails to certain custodians and search terms (i.e., paragraph 6) is only applicable to emails,

   thereby resolving this issue once and for all.

           B.      Dawgs and Crocs Fully Met and Conferred

           Crocs’ complaint that Dawgs did not fully meet and confer regarding the issues herein, and

   specifically, that Dawgs failed to engage in a “voice-to-voice discussion” (Opposition at 4) is

   demonstrably false. That Crocs staked out its position regarding the ESI Stipulation months ago,

   and that the parties discussed the same, was the subject of prior Court filings. See, e.g., Doc. No. 264

   (filed August 22, 2016) at 14 (“Crocs’ assertion that it will apply the negotiated limits to the search




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   for and production of email to all ESI should be rejected.”). This statement referred to the annexed

   Kaplan Declaration, which stated:

                   Most recently, on a meet and confer telephone call on August 15, 2016,
                   Mr. Callagy stated for the first time that it is Crocs’ position that the
                   Stipulated ESI and Email Production Order, which was filed with the
                   Court on July 5, 2016 as DOC. NO.235, limits Crocs’ obligation to
                   search for all electronic discovery to the email custodians that Crocs
                   has identified pursuant to paragraph 6 of that order. Even after
                   reviewing the specific language of the Stipulated ESI and Email
                   Production Order which makes clear that the limit on “email
                   custodians” in paragraph 6 applies to the search for and production of
                   email discovery only, and not ESI in general, Mr. Callagy stated in his
                   email attached hereto as Exhibit J that his position on this matter
                   remained unchanged.
   Doc. No. 264-1, ¶ 13 (referring to Exhibit J, Doc. No. 264-11). Crocs did not take issue with this

   recount of events in its response to that filing. Doc. No. 281.

           As to the date of Crocs’ production, even after Dawgs filed the instant motion and followed

   up with several more letters to Crocs (on December 21, December 27, January 6, and January 11),

   Crocs has refused to commit to any date for producing documents. See Doc. No. 397-8 at 2

   (December 21 letter); Doc. No. 397-9 (December 27 letter); Ex. A (January 6 letter); Ex. B (January

   11 letter). Indeed, Mr. Callagy himself, who now asserts that Dawgs has not met and conferred

   (Opposition at 4 (citing Callagy Decl.)), has only stated that Crocs would produce documents at an

   undetermined time, but has refused to timely respond to Dawgs’ request for a date by which Crocs

   will produce documents. 2 Doc. No. 397-8 at 2; Ex. C. Crocs similarly declined to provide a date for

   production in its Opposition.

           C.      Crocs Continues to Delay Its Production of Documents

           The requests for production at issue here were served on August 31, 2016, nearly five

   months ago. As set forth above, Crocs has continued to refuse to update Dawgs on the status of its

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           Instead of providing discovery, Crocs’ prioritized filing not one but two ill-advised motions
   for sanctions against Dawgs, both of which are nothing more than a repackaging of Crocs’ motion
   to dismiss. Doc. No. 409, 410. Dawgs will, of course, respond to Crocs’ motions in due course.


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   production of the categories of documents that it says it will produce, let alone provide a date by

   which it believes its production will be complete. As such, it is necessary for the Court to mandate a

   date certain for Crocs to complete its production. A date certain is especially necessary here as

   Dawgs seeks to review Crocs responsive production before determining whether it is necessary for

   Dawgs to move to compel concerning Crocs’ objections. This will hopefully avoid unnecessary

   motion practice.

           D.      The Scope of Dawgs’ Discovery Requests Is of No Moment Here

           If there was any doubt, this motion concerns only the non-objectionable scope of Dawgs’

   2nd RFPs 7‒10, 12‒20, and 23. E.g., Motion at 1. Crocs stated in the responses that it served on
   Dawgs that certain non-objectionable documents existed that it would produce. Motion at 1 (citing

   Ex. 1). Those are the documents Dawgs seeks now. Any debate over Crocs’ objections to Dawgs’

   requests is not pertinent to the matter at hand.

   Dated: January 17, 2017

   /s/ David J. Kaplan
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                               and Double Diamond Distribution, Ltd. (“Dawgs”)


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                                    CERTIFICATE OF SERVICE


            I hereby certify that on January 17, 2017, a true and correct copy of the foregoing was filed
   via the CM/ECF System and was served upon all attorneys of record who have entered an appearance
   in this case.



                                      /s/ David J. Kaplan




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